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                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )          CASE NO. 2:13-cr-040-MEF
                                              )                     (WO)
BRYANT ALLEN THOMPSON                         )
QUINCY SINTELL WALTON                         )

                                       ORDER

       On April 17, 2013, defendants filed an Unopposed Motion to Continue Trial (Doc.

#23). While the granting of a continuance is left to the sound discretion of the trial judge,

United States v. Warren, 772 F.2d 827, 837 (11th Cir. 1985), the Court is limited by the

requirements of the Speedy Trial Act, 18 U.S.C. § 3161. The Speedy Trial Act provides

generally that the trial of a defendant in a criminal case shall commence within 70 days of

the latter of the filing date of the indictment or the date the defendant appeared before a

judicial officer in such matter. 18 U.S.C. §3161(c)(1). See United States v. Vasser, 916 F.2d

624 (11th Cir. 1990).

       The Act excludes from this 70 day period any continuance that the judge grants "on

the basis of his findings that the ends of justice served by taking such action outweigh the

best interest of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(7)(A).

       The motion states that while discovery is complete as to what documentation is in the

government's possession, it has become apparent that additional investigation is necessary

in order to supplement the information that has been provided by the government. Among

the required investigation will be obtaining documentary and other evidence from the
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Alabama Department of Corrections as well as one or more local cable providers in the

Montgomery, Alabama area. Additional time is required in order to complete these

investigations. In addition, defense counsel will be in trial until approximately two weeks

before the current trial date which will make it extremely difficult if not impossible to

properly prepare this case for trial if left set on the present trial date. The government does

not oppose the motion. Consequently, the Court concludes that a continuance of this case

is warranted and that the ends of justice served by continuing this case outweighs the best

interest of the public and the defendant in a speedy trial. See United States v. Davenport, 935

F.2d 1223, 1235 (11th Cir. 1991)(reasonable time necessary for effective preparation is a

significant factor for granting a continuance under the Speedy Trial Act).

       Accordingly, it is hereby ORDERED:

       1. That the defendant's motion to continue filed on April 17, 2013 is GRANTED.

       2. That the trial of this case is continued from the June 24, 2013 trial term to the

October 7, 2013 trial term in Montgomery, Alabama.

       3. That the Magistrate Judge conduct a pretrial conference prior to the October 7,

2013 trial term.

       DONE this the 22nd day of April, 2013.



                                                        /s/ Mark E. Fuller
                                                  UNITED STATES DISTRICT JUDGE




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